978 F.2d 1257
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James T. WITHROW, Plaintiff-Appellant,v.VIRGINIA DEPARTMENT OF CORRECTIONS;  Edward W. Murray,Director;  Lou Ann White, Court and Legal;  Carolyn G. Funn,Classification Specialist;  L. W. Turnage, InstitutionalCounselor;  Barbara Taylor, Record Manager;  John Russell,Institutional Counselor;  E. C. Morris;  Lewis Cei, Doctor;C. D. Larsen, Defendants-Appellees.
    No. 92-6722.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 7, 1992Decided:  October 27, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-91-9-R)
      James T. Withrow, Appellant Pro Se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Virginia, for Appellees.
      W.D.Va.
      Affirmed.
      Before WIDENER, HALL, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      James T. Withrow appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Withrow v. Virginia Dep't of Corrections, No. CA-91-9-R (W.D. Va.  June 8, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    